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                 EXHIBIT D
       Case 3:18-cv-01586-JSC Document 647-9 Filed 01/08/21 Page 2 of 35
IN RE PACIFIC FERTILITY                                                         ANAND KASBEKAR, Ph.D., VOLUME II
CENTER LITIGATION                                                                               November 25, 2020
                                                     Page 1                                                            Page 3
 1                   UNITED STATES DISTRICT COURT              1                            I N D E X
 2                 NORTHERN DIVISION OF CALIFORNIA             2 EXAMINATION BY:                                  PAGE
 3                       SAN FRANCISCO DIVISION                3     MR. DUFFY...................................    5
 4                                                             4     MS. ZEMAN................................... 125
 5 IN RE PACIFIC FERTILITY          )                          5 FURTHER EXAMINATION BY:
   CENTER LITIGATION,          ) Case No. 3:18-cv-01586-JSC
 6                                  )                          6     MR. DUFFY................................... 130
   ___________________________)
 7                                                             7                              -o0o-
 8                                                             8                         E X H I B I T S
 9                                                             9 DEFENDANTS'           DESCRIPTION                PAGE
10          DEPOSITION OF ANAND KASBEKAR, Ph.D., VOLUME 2,    10 Exhibit 221     Report by Anand David Kasbekar,     4
                                                                                   Ph.D. Dated 11/6/2020
11 taken on behalf of Defendant, via Zoom video conference,   11
12 beginning at 9:03 a.m., Wednesday, November 25, 2020,      12 PLAINTIFF'S           DESCRIPTION                PAGE
13 before WENDY L. GRAVES, RPR, Certified Shorthand           13 Exhibit 409     Email string, top one dated       128
                                                                                   9/3/2020 from Kevin Gilliland
14 Reporter No. 6138.                                         14                   to Ramon Gonzalez.
                                                                                   CHART070706 to 070733
15                                                            15
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24                                                            24
25                                                            25

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 1                       A P P E A R A N C E S
                                                               1                ZOOM VIDEO CONFERENCE
 2      (ALL PARTIES APPEARING VIA ZOOM VIDEO CONFERENCE)
                                                               2                 November 25, 2020
 3       FOR THE PLAINTIFF:
                                                               3                     -o0o-
 4              GIBBS LAW GROUP LLP
                BY: AMY M. ZEMAN, ESQ.                         4          Pursuant to Notice of Deposition and on
 5              505 14th Street, Suite 110
                Oakland, California 94612                      5   Wednesday, November 25, 2020, commencing at the hour of
 6              (510) 350-9721
                                                               6   9:03 a.m. via Zoom video conference, before me, WENDY L.
                Amz@classlawgroup.com
 7                                                             7   GRAVES, a Certified Shorthand Reporter and Deposition
         FOR THE DEFENDANT CHART INDUSTRIES, INC.:
 8                                                             8   Officer of the State of California, there personally
                SWANSON, MARTIN & BELL, LLP
 9              BY: JOHN DUFFY, ESQ.                           9   appeared
                     KEVIN M. RINGEL, ESQ.
10              330 N. Wabash, Suite 3300                     10                ANAND KASBEKAR, Ph.D.,
                Chicago, Illinois 60611
11              (312) 321-9100                                11   called as a witness by the Defendants, who, having been
                Jduffy@smbtrials.com
12                                                            12   first duly sworn by me to tell the truth, the whole
13   Also Present:   Philip Knowles, Videographer             13   truth, and nothing but the truth, was examined and
14                                                            14   testified as follows:
                                  -o0o-
15                                                            15                     -o0o-
16                                                            16                      (DEFENDANT'S EXHIBIT 221
17                                                            17                      MARKED FOR IDENTIFICATION.)
18                                                            18          THE VIDEOGRAPHER: Good morning, Counsel. My
19                                                            19   name is Philip Knowles. I am the host and videographer
20                                                            20   associated with Barkley Court Reporters located at 201
21                                                            21   California Street, Suite 375, in San Francisco,
22                                                            22   California 94111.
23                                                            23          The date today is Wednesday, November 25th,
24                                                            24   2020, and the time is approximately 9:03 a.m. Pacific
25                                                            25   standard time.


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 1          This deposition is taking place remotely via                  1   not been serving as an adjunct professor at Duke's
 2   zoom in the matter of Pacific Fertility Center                       2   Engineering School since about 2016. Does that sound
 3   litigation, with Case No. 3:18-CV-01586-JSC.                         3   right?
 4          This is the videotaped deposition of Dr. Anand                4     A. That's correct.
 5   D. Kasbekar, Ph.D., being taken on behalf of counsel for             5     Q. And then would you describe what the roles of an
 6   Chart defendants.                                                    6   adjunct professor at Duke's Engineering School would be
 7          Will counsels for the parties please voice                    7   for the time that you were serving in that capacity?
 8   identify themselves now?                                             8     A. Sure. My particular role, I think I break it
 9          MS. ZEMAN: This is Amy Zeman on behalf                        9   down in to three things. Early on back in the early to
10   plaintiffs.                                                         10   mid, late nineties, I would be an advisor to students
11          MR. DUFFY: John Duffy on behalf of Chart.                    11   doing independent studies related to failure analysis
12          MR. RINGEL: Kevin Ringel also for Chart.                     12   and prevention.
13          THE VIDEOGRAPHER: Thank you, Counsel.                        13         I took on three students who did that, all
14          The court reporter may now swear in the witness              14   senior level students. In fact, I think one of them
15   and make a statement for the record.                                15   went to work for Exponent for a brief period of time.
16               ANAND D. KASBEKAR, Ph.D.,                               16         My regular duty was essentially providing
17   being first duly sworn, was examined and testified as is            17   lectures to the -- it was the ME 115 class, and now it's
18   hereinafter set forth.                                              18   a 400 level class, but it's called failure analysis and
19           EXAMINATION BY MR. DUFFY (resumed)                          19   prevention.
20          MR. DUFFY: Q. Good morning. Dr. Kasbekar, my                 20         And then I would occasionally give lectures.
21   name is John Duffy and I represent Chart in this case,              21   They brought in some time after 2000 they started doing
22   and I will be taking your deposition this morning. I                22   kind of an introductory course for all engineers that
23   understand you have given quite a few depositions, so I             23   tried to touch on all the different facets of
24   will dispense with the ground rules.                                24   mechanical, electrical, civil, materials engineering,
25          The only thing I would ask you to do today is                25   and I would generally lecture to the students with


                                                                Page 6                                                              Page 8

 1   just try to wait for me to finish my question before you             1   regard to materials and mechanical engineering and give
 2   give your answer, because it makes it easier for Wendy,              2   them a taste of what the failure analysis and prevention
 3   our court reporter, to take down the testimony. Okay?                3   forensic engineer career was like.
 4      A. I understand. I will do my best. And Wendy,                    4    Q. Okay. So between the period of 2005 to about
 5    please let me know if I am not doing well enough.                   5   2016, what percentage of your income came for serving in
 6      Q. Thank you. I wanted to ask you a little bit                    6   your role as an adjunct professor?
 7    about your background. I know you have been deposed                 7    A. Close to none. The majority of my income during
 8    once before so I won't plow the same ground. My                     8   that time was either consulting or through the army
 9    understand is for a period of time you were a professor             9   research contracts which I had, and some industry
10    at Duke University; is that right?                                 10   contracts.
11      A. I had an adjunct professorship there that                     11    Q. Are you practicing full-time now as a forensic
12    started back in 1995.                                              12   engineer?
13      Q. And are you still an adjunct professor at Duke?               13    A. I am not.
14      A. It's the same answer I think I may have given                 14    Q. You said you just moved to Colorado relatively
15    previously. I don't know when -- I had a multi-year                15   recently?
16    appointment letter. I suspect it may have run out a                16    A. That's correct.
17    year or two ago. I can check. But pretty much between              17    Q. Are you in the process of potentially retiring?
18    about '95 and, you know, late 2010, '15, I was active              18    A. I absolutely am.
19    there.                                                             19    Q. Okay. Congratulations.
20           Then starting in about 2016 I began to slow down            20    A. Thank you.
21    my business and relocate to Colorado. And for all                  21    Q. Have you had a chance to review your first
22    practical purposes, even if the appointment is still               22   deposition in the case?
23    theoretically valid on paper I have not been giving                23    A. I did review it since my -- since it was taken,
24    lectures or anything since 2016.                                   24   yes.
25      Q. Okay. So let me just break that down. You have                25    Q. Is there anything that you want to change about


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 1   your testimony from your first deposition?                       1   course that I was a teaching assistant for was to
 2     A. I don't believe so. I mean, I know there are                2   operate the SEM for every student who went through that
 3   some typos and a few things in there. I think at times           3   class to help them evaluate their semester project,
 4   temperatures are referred to both by counsel and by me           4   which they each had to come up with a failure, and part
 5   that should be negative that might be positive, but I            5   of that process would be to take their failed part and
 6   don't believe there is anything major that I wish to             6   examine it in the scanning electron microscope.
 7   change that I recall.                                            7    Q. For your work in this case, did you personally
 8     Q. Okay. So there is nothing major about your                  8   do the optical microscopy?
 9   testimony in your first deposition that you want to              9    A. I did do some optical microscopy while at
10   change, correct?                                                10   Exponent, but all the samples have been in Exponent's
11     A. Not that I recall. I do know that after reading            11   possession. But while I was there there was a stereo
12   Mr. Miller's report he did take some of my deposition           12   zoom microphone adjacent to the Keyence microscope, and
13   testimony regarding really what was the amount of               13   I did operate that and examine the fracture surfaces
14   nitrogen that could possibly fit into the vacuum space I        14   there.
15   think a little bit out of context.                              15    Q. So you used Exponent's equipment to do that,
16         I started off that answer as this is a bit of a           16   correct?
17   guesstimate at this point. We hadn't opened it up. But          17    A. That's correct. Excuse me. I should also say
18   the intention of that answer was to basically say there         18   that I did bring the digital hand-held microscope, which
19   is significant volume beneath the fill port in the              19   was mine, and inspected the parts with that, also.
20   vacuum space. But I don't know that I would need to             20    Q. Did you perform the scanning and electron
21   change it. I just think it's being taken out of                 21   microscopy yourself for your work in this case?
22   context, and that could probably -- more clearly.               22    A. No. Again, all the parts that were examined
23         (Simultaneous talking.)                                   23   with the SEM in this case were done jointly with a
24     Q. I guess my only question, is there anything that           24   technician from Exponent operating the SEM.
25   is important from your first deposition that you want to        25    Q. How many fractured components do you personally


                                                          Page 10                                                              Page 12

 1   change today?                                                    1   analyze each year?
 2     A. Not that I recall.                                          2     A. Gosh, I would say it varies, but I probably
 3     Q. Okay. I want to ask you a little bit about your             3   would say anywhere from as little as 30 to as many as 50
 4   practice today. Do you have your own laboratory?                 4   projects a year for 35 years plus, as I said, for seven
 5     A. I no longer do.                                             5   years while I was in graduate school and also working
 6     Q. When did you stop having your own laboratory?               6   for research engineers. My role as a teaching assistant
 7     A. 2016, thereabouts, give or take a year.                     7   was basically to run the SEM.
 8     Q. Do you personally perform hands-on optical                  8     Q. Since 2016, how many fractured components had
 9   microscopy and scanning electron microscopy of fracture          9   you personally analyzed hands-on each year?
10   surfaces?                                                       10     A. Since 2016, I would probably say maybe on the
11     A. I did for 30 some years. I do not, as                      11   order six to 10 per year. I really started winding down
12   (indiscernible) -- yes, I do. I don't go into another           12   and retiring in 2016.
13   person's lab and run their SEM. I have access to both           13     Q. Let's say from 2018, could you tell me how many
14   labs at Duke, North Carolina State University.                  14   fractured components you personally analyzed each --
15         I have a good working relationship with a lab in          15   during the year of 2018?
16   Sanford as well as a lab in Marieta, and I do use their         16     A. I can tell you in 2018 I think one of the bigger
17   optical microscopes there. I normally no longer -- I            17   projects I was involved in was a fatigue failure of a
18   wouldn't walk into another lab and use their SEM, but I         18   weld pressure vessel, and it was about -- it's a large
19   did for a number of years, 30 some years operate an SEM         19   vessel. That was one of the major cases I had, and we
20   optical and metallurgical mounting polishing equipment.         20   spent days analyzing that, both optically and with SEM.
21         In fact, the first seven years of my grad school          21         Beyond that, I have had this case, and I can
22   career I was a lab assistant, teaching assistant for the        22   tell you right now I probably have three or four active
23   course in failure analysis and prevention and also for          23   cases left, and I'm not taking new cases.
24   the interim (ph.) materials course.                             24     Q. Okay. So in 2018 then you had the pressure
25         And the primary job for the failure analysis              25   vessel fractured component work and also the work in


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 1   this case; is that correct?                                     1     A. Absolutely.
 2    A. That's correct. I may have had a fractured                  2     Q. Isn't one of the first steps to identify if the
 3   component on a bicycle that I was looking at, and then I        3   fracture is ductile or brittle on the macro scale?
 4   have one other active case that's been going on. It's a         4     A. Yes, it is.
 5   defense case that relates to a number of the same               5     Q. If the fracture is accompanied by gross plastic
 6   product, but that's basically a 6061 aluminum tool              6   deformation, doesn't that make it a ductile fracture?
 7   that's been fracturing.                                         7     A. Not necessarily.
 8    Q. Okay. So if I understand then in 2018 you had               8     Q. Why is that?
 9   three projects that you were personally doing hands-on          9     A. Well, it depends on what part of the fracture
10   analysis of fractured components, that would be the            10   surface you are talking about. First of all, let me
11   Pacific Fertility litigation; is that right?                   11   tell you that I do agree that in general this is a
12    A. That's correct.                                            12   ductile fracture, in the case that we're here to talk
13    Q. And then the pressure vessel case?                         13   about today.
14    A. Correct.                                                   14         But you can -- in looking in this particular
15    Q. A bicycle case?                                            15   instance, you can have something that starts off in more
16    A. Correct.                                                   16   brittle fashion and then ends up finishing in a ductile
17    Q. And then another case in which you are working             17   fracture.
18   with defense?                                                  18     Q. Is that what you think happened here?
19    A. Yeah. I kind of hesitate to name the product,              19     A. I don't know that this is necessarily a brittle
20   but let's just call it the aluminum rod fatigue failure.       20   fracture. I just think that this is a progressive
21    Q. Okay. So just in 2018 you had four active                  21   fracture that occurred over a number of cycles.
22   projects, correct?                                             22     Q. What are the possible failure mechanisms for a
23    A. That's correct. Yeah, and my goal is to get                23   macro scale ductile fracture?
24   down to zero. So I'm looking forward to that.                  24     A. You are going to have to define what you mean by
25    Q. And in 2019, how many active cases did you have            25   "failure mechanisms."


                                                          Page 14                                                             Page 16

 1   where you were personally analyzing fractured                   1     Q. Well, is one failure mechanism for a macro scale
 2   components?                                                     2   ductile fracture a monotonic ductile overload?
 3     A. I would say in 2019 I really have -- I mean, I             3     A. Sure. So you can have monotonic ductile
 4   have got, I think -- I have got this and really two or          4   overload. You can have -- let me ask you to repeat your
 5   three other cases. In 2019, I worked on this case. I'm          5   question. Was ductile in your question?
 6   trying to think if there is anything else where I was           6     Q. It was, yes.
 7   actually in the lab in 2019. I don't recall any right           7     A. So possibilities for -- definitely you can have
 8   now.                                                            8   a sheer fracture. You can have ductile tearing in a
 9     Q. Okay. So the work that you did in a lab looking            9   fatigue fracture.
10   at fractured components in 2019 would just consist of          10     Q. Could you have very low cycle fatigue, as well?
11   your work in this case. Is that fair?                          11     A. You could. Absolutely.
12     A. I think that's probably fair. I mean, I may               12     Q. All right. I have gone ahead and premarked the
13   have -- so I have, as I said, a good relationship with a       13   two reports, the one from Mr. Parrington and yours. I
14   laboratory in Sanford, North Carolina. I probably may          14   am going to ask you a few questions about that, if I
15   have been in that lab helping with some things looking         15   can, so you can help me understand something.
16   at components under the microscope on this bicycle case,       16     A. Absolutely.
17   and actually that would have been relatively recently.         17     Q. If you would open on the chat feature,
18     Q. So how about 2020, just to round it off. I know           18   Dr. Kasbekar, it would be your report, which we have
19   it's a very unusual year, but how many fractured               19   marked as Chart Defendant 221. Let me know when you
20   components you've evaluated in 2020?                           20   have had a chance to open that document.
21     A. 2020, I think the only fractured component would          21     A. You guys are going to have to help me with the
22   have been this.                                                22   chat feature.
23     Q. Okay. When you perform a failure analysis on a            23         THE VIDEOGRAPHER: John, he may not have been
24   fractured component, isn't it proper procedure to              24   signed in when you sent it, so you may have to resend
25   perform a macro scale and micro scale analysis?                25   it.


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 1         MS. ZEMAN: Is the version in the chat stamped?
 2         THE VIDEOGRAPHER: Mine is.
 3         MR. DUFFY: Can you share it in the chat then,
 4   Philip?
 5         THE VIDEOGRAPHER: Yes, give me a minute,
 6   because I will have to save it and then send it back.
 7   Bear with me, yes.
 8         MR. DUFFY: It's actually in the Parrington
 9   report. I'm sorry.
10         THE WITNESS: I think I'm seeing it. It wants
11   me to download it. Is that kind of the next step?
12         MR. DUFFY: That's right.
13         THE WITNESS: Okay. Bear with me one sec.
14         MS. ZEMAN: John, do you want him to look at the
15   Parrington report now?
16         MR. DUFFY: Yeah, the Parrington report. I'm
17   sorry. I misspoke.
18         THE VIDEOGRAPHER: Sorry for all this
19   unnecessary commentary, Wendy.
20         John, I have now saved that. Do you want me to
21   load it in to the chat room?
22         MR. DUFFY: Sure, that would be great.
23    Q. Dr. Kasbekar, let us know (inaudible).
24    A. Yeah, I'm trying to get it to open. I have a
25   copy of it. I don't know if I have your copy is the


                                                             Page 18

 1   only issue.
 2    Q. Okay. Maybe let's have it on the same --
 3    A. There we go. I have got it with the exhibit
 4   sticker on it. Okay.
 5    Q. Perfect. Could you please turn to page 25 of
 6   the Parrington report at Figure 28?
 7    A. Okay.
 8    Q. Just to help me lay a little foundation here,
 9   Dr. Kasbekar. Did you have an opportunity to read
10   Mr. Parrington's report before today?
11    A. I did.
12




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 1                                                                    1   to me. I think he was in the navy for some period of
                                                                      2   time. He did some work I think in nuclear plants, if my
                                                                      3   memory is correct. And does work for the pharmaceutical
                                                                      4   industry as a freelance welder, and I think for a number
                                                                      5   of other industries.
                                                                      6         He's an individual that I only met briefly for
                                                                      7   the purpose of assisting me with these welds.
                                                                      8     Q. When did you first meet Mr. Reans?
                                                                      9     A. It was on the date that I did the welding. I'd
                                                                     10   have to go look back at my photographs to give you the
                                                                     11   exact date.
12    Q. At the Zoom inspection of the exemplar tank and             12         But that was the first time I met him. He
13   welds that you were using, you showed seven weld                13   showed up, I showed up with the components, and went to
14   mock-ups labeled 1 through 7; is that right?                    14   work.
15    A. That's correct.                                             15     Q. Was that in 2020 was the first time --
16    Q. They were the single and double sided welds, as             16     A. Yes, yes, 2020.
17   well as the fittings with and without the chamfers?             17     Q. Did you investigate whether he was certified in
18    A. That's correct.                                             18   any way as a welder?
19    Q. Who performed the welding?                                  19     A. I did not.
20    A. That was done by an individual by the last name             20     Q. Are you aware that welders often can be
21   of, um, I think it's Reans, first name Thomas.                  21   certified?
22    Q. How do you spell Mr. Reans' last name?                      22     A. Yes. And I suspect that he was, given his
23    A. I believe it's R-E-A-N-S, but I am not sure                 23   background. But I did not ask for his certifications.
24   about that. I can check that and get back to you.               24     Q. How would you think he was certified?
25    Q. And who is Mr. Reans?                                       25     A. Again, I didn't get into that with him, so I'd


                                                           Page 22                                                           Page 24

 1    A. He was a welder that works for a local machine               1   be speculating. I just know from prior working careers
 2   shop that I have been working with for years that had            2   I have had if he, in fact, was doing work in nuclear
 3   experience welding stainless steel.                              3   plants then he would have been certified.
 4    Q. And where is Mr. Reans located?                              4    Q. Okay.
 5    A. In North Carolina.                                           5         THE VIDEOGRAPHER: Can I have a sec? I'm
 6    Q. Where in North Carolina?                                     6   hearing an echo. Is anyone else hearing that?
 7    A. I don't know his home address, or his business               7         (Discussion off the record.)
 8   address.                                                         8         THE VIDEOGRAPHER: We are going off the record
 9    Q. What's the shop that you -- the shop that you                9   at 9:31 a.m., Pacific standard time.
10   have been working with where Mr. Reans is?                      10         (Discussion off the record.)
11    A. Chesson Machine is where I met with Mr. Reans to            11         THE VIDEOGRAPHER: We are now going back on the
12   do the welding.                                                 12   record. The time is 9:34 a.m. Pacific standard time.
13    Q. How do you spell Chesson?                                   13         MR. DUFFY: Wendy, would you read back my last
14    A. C-H-E-S-S-O-N.                                              14   question just so I can orient where I was?
15    Q. What town is that located in?                               15         (Record read by the reporter.)
16    A. That's in Raleigh, I believe.                               16        MR. DUFFY: Q. Okay. Would you agree that
17    Q. And what does Chesson do, what type of business?            17   welders can be experienced enough through their training
18    A. Chesson is a machine shop that's been around for            18   at their employer to be reasonably capable welders?
19   quite some time. I have had other projects where they           19    A. I think that's certainly a possibility.
20   have built test fixtures for me, helped me with                 20      Q. And Mr. Reans was in the navy; is that right?
21   sectioning components that needed precision cutting,            21    A. Again, I talked very briefly with him when I met
22   building different devices for me over the years.               22   him. Because, quite frankly, I was very impressed. I
23    Q. What are Mr. Reans' qualifications as a welder,             23   have seen a lot of welding. I have welded myself. What
24   do you know?                                                    24   he did on his first attempt at this, I was very
25    A. I know some general background that he provided             25   impressed. So I asked him a little bit more about his


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 1   work and his background. He came highly recommended
 2   from an individual I have a great deal of respect for.
 3         He was probably 10, 15 years our senior, and he
 4   explained to me that he had been in the navy for some
 5   period of time and gave me just a general rundown of his
 6   welding experience, and he came very prepared to tackle
 7   what we had asked him to do.
 8      Q. Did he weld in the navy?
 9    A. That's my understanding, yes. That was his
10   explanation to me.
11      Q. And then at some later point he worked for a
12   nuclear power plant as a welder?
13    A. I think that's correct, and then more recently I
14   know that he does work for the pharmaceutical area in
15   North Carolina. There is a lot of pharmaceutical
16   plants. There is also a lot of microbreweries that have
17   popped up, and I think he does work in those areas.
18         And, as I said, he came highly recommended. He
19   was the individual that the machine shop goes to when
20   they need, I think, more precision welding of especially
21   stainless and aluminum materials than they are
22   comfortable doing.
23      Q. In the navy, do they weld stainless steel?
24    A. I would assume that they do, but -- I know, in
25   fact, that's part of my -- I had a job for a consulting


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 1   firm in DC where we basically did failure analysis for
 2   power plants and for the navy. They do, in fact, weld
 3   stainless steel in the navy.
 4      Q. Were there any problems with melt-through for
 5   the weld made from the second weld that comes from the
 6   vacuum space side?
 7     A. I don't have the numbers of each weld memorized
 8   in my head, but I will say that, yes, doing a -- when
 9   you said the second weld, you don't mean the second
10   sample but the pass on the back side, the vacuum space
11   side?
12      Q. On the vacuum space side, correct.
13     A. Yes. It's definitely difficult to do that on
14   that thin material, and there are some spots where you
15   do get some burn-through. One sample there was --
16   actually, the first sample there was significantly less
17
18




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 1   d




                                                  11      Q. When you wrote your first report in this case,
                                                  12   did you have an exemplar freezer available to you?
                                                  13    A. I did not.
                                                  14      Q. You were provided with an exemplar freezer in
                                                  15   approximately October of 2020; correct?
                                                  16    A. That's correct.
                                                  17      Q. Then based upon your analysis of the exemplar
                                                  18   freezer you added some additional opinions to your
                                                  19   second report in this case; is that fair?
                                                  20    A. That's correct.
                                                  21      Q. At the time that you wrote your first report,
                                                  22   did you have access -- strike that.
                                                  23        At the time that you wrote your first report,
                                                  24   did you have a lab associated with your work for which
                                                  25   you could conduct this testing that we're talking about?


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 1         MS. ZEMAN: Objection. I think this goes into                    1      Q. There is a crack in a weld in a cryogenic
 2   discovery that's blocked by the expert discovery                      2   freezer and someone comes to the conclusion that that's
 3   stipulation we have in place.                                         3   what caused the vacuum seal loss.
 4         MR. DUFFY: Help me understand, Amy.                             4     A. So what I would do is try to see if there is any
 5         MS. ZEMAN: I don't think that that discovery                    5   other evidence of vacuum seal loss anywhere else on the
 6   stipulation allows you to delve into work done, other                 6   tank, if there are any other leak sites. And that is
 7   than what was relied upon for the report. Perhaps                     7   the testing that I did.
 8   rephrasing your question might solve the problem.                     8          And in the absence of any other leak sites and a
 9        MR. DUFFY: Q. When was the last time you                         9   crack that, in my opinion, took place over some period
10   maintained a lab associated with your forensic                       10   of time, it is, I think, a very reasonable, logical
11   engineering practice?                                                11   scientifically sound conclusion that that crack is most
12    A. My own lab?                                                      12   probably the breach that led to loss of vacuum.
13      Q. Correct.                                                       13      Q. Let's say you have an exemplar MVE 808, and you
14    A. I pretty much moved out of my lab and offices, I                 14   through your analysis recreate the crack in the weld at
15   don't remember the exact month, it occurred over several             15   issue, and you filled up the freezer with 14 inches of
16   months, but in 2016. I actively started retiring and                 16   liquid nitrogen. What would you expect that test to
17   pretty much stopped taking cases in 2016.                            17   show?
18      Q. Can you explain to me why you didn't test your                 18          MS. ZEMAN: Objection. Incomplete hypothetical.
19   theory that the crack in the weld caused the loss of the             19          THE WITNESS: I would expect it to show an
20   vacuum seal?                                                         20   increase evaporation rate of the nitrogen. I would
21    A. Well, I feel like I have tested my theory for                    21   expect it to eventually show, because of a loss of
22   the reasons I just explained to you. But --                          22   vacuum, condensation and frost build-up on the exterior
23         (Simultaneous talking.)                                        23   of the tank.
24         MS. ZEMAN: I would like to put an objection,                   24          And then I would expect over some period of time
25   misstates testimony, in there.                                       25   that if sufficient nitrogen were to enter into the


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 1         THE WITNESS: What I will say is that I looked                   1   vacuum space and you were to allow the remaining
 2   at the possible failure modes that would explain the                  2   nitrogen in the tank to evaporate off that you would
 3   nature of the fracture that we have and the damage that               3   have a buckling of the tank.
 4   we have.                                                              4         MR. DUFFY: Q. Do you have any plans to run
 5         And that's based upon days and weeks of testing                 5   that type of an experiment on the exemplar that you
 6   conducted by joint testing by multiple parties. And                   6   currently have access to?
 7   based upon that testing, what became clear to me is that              7     A. I do not.
 8   we had a fatigue crack. And in a structure like this, a               8      Q. Would doing that kind of testing on an exemplar
 9   small opening will result in loss of vacuum.                          9   be a good practice for a forensic engineer?
10         We have a system that is subjected to cyclic                   10     A. Well, we're kind of going around in a circle a
11   loading, and we have no other potential leak sites or                11   little bit, Mr. Duffy. I think the issue with what you
12   reasonable explanations for nitrogen getting into the                12   are getting back is reproducing that exact crack would
13   vacuum space.                                                        13   be -- it would be difficult for me to prove to you or
14         So like as in many failure analyses, some things               14   your experts that whatever crack I put in there was the
15   are done through process of elimination.                             15   same crack as the crack that occurred in service in this
16        MR. DUFFY: Q. But that's analysis by an                         16   clinic.
17   expert, correct?                                                     17          And for multiple reasons. One, recreating the
18    A. It's analysis based on testing by an expert,                     18   loading, the environment, the usage of the tank. But
19   yes, which is the way the majority of failure analyses               19   the hardest part to do would be to recreate that weld.
20   are conducted.                                                       20   I mean, your own expert indicates that we have a
21      Q. And you can come to a conclusion about a                       21   solidification crack right in the area where I believe
22   potential failure based upon testing of components,                  22   the crack originated.
23   correct?                                                             23          I don't think anyone could recreate that same
24    A. Yes, sometimes you can. I mean, if you want to                   24   solidification crack. But yet we've got the same degree
25   give me a specific hypothetical, I will answer it.                   25   of penetration.


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 1        I mean, that would be -- you are tasking me with            1   through the case studies in Volume 11 of the ASM
 2   doing things that are unreasonable to do. I mean, sure,          2   handbook or other failure analysis case studies, it's
 3   given 20 years and an infinite budget, CT scanning               3   that same methodology. We do background research to
 4   hundreds of welds, maybe we could do that. But I don't           4   learn about the device in question, how it was used,
 5   think there is any need to do that in this case. To me           5   service conditions.
 6   the evidence clearly explains the nature of the crank            6         We look at the nature of the mechanism or the
 7   and the eventual implosion of the tank.                          7   structure. We do fractography of the failed component,
 8                                                                    8   if there is, in fact, a fracture. We look at the types
                                                                      9   of loading that the component would be subjected to.
                                                                     10         We look at other possibilities to explain the
                                                                     11   damage, in this case, the incursion of nitrogen into the
                                              I basically            12   vacuum space. We rule out, just like your expert did or
13   looked at the evidence. I formed a theory. I conducted          13   attempted to do -- I don't agree with his findings --
14   testing. I looked at the usage of the piece of                  14   but to rule out other possibilities. And then we come
15   equipment.                                                      15   to a conclusion. I have been doing it for three and a
16         Unlike Mr. Parrington, I looked at the loads              16   half decades or more.
17   that the area in question would have been subjected to.         17      Q. In reviewing your two reports and your
18   In my mind, and this is where I differ with him -- in           18   deposition, is it fair to say you came to the conclusion
19   many ways I don't differ with him, but this way I do.           19   that the LN2 in tank 4 evaporated between 7:00 a.m. and
20   There is cyclic loading, and thermal stresses in                20   12:30 p.m. on March 4, 2018?
21   cryogenic vessels is not something that's unheard of.           21     A. After the lid was removed is what we're talking
22      Q. Can you think of any peer-reviewed publications           22   about?
23   that would support your methodology for coming to the           23      Q. Let me ask that question again.
24   conclusion that the crack in the weld caused the loss of        24     A. Okay.
25   vacuum seal in the dewar?                                       25      Q. After reviewing your deposition and both of your


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 1    A. Yes. I mean, I believe that the methodology for              1   reports, have you come to the conclusion that the LN2 in
 2   failure analysis that ASM has in their handbooks and the         2   tank 4 evaporated between 7:00 a.m. on March 4, and
 3   procedures that I followed are fairly parallel.                  3   12:30 p.m., when Dr. Conaghan opened the lid?
 4      Q. Can you tell me what the error rate or potential           4    A. I'm not sure I completely understand the
 5   error rate of the methodology that you used to reach             5   question, because when you say evaporated between
 6   this conclusion would be?                                        6   7:00 a.m. and 12 -- I mean, what do you mean by
 7    A. Well, I can tell you that I think the error rate             7   evaporated?
 8   for the methodology in this particular case is going to          8         There is testimony that indicates that there was
 9   be low. I can't give you a numerical value, because              9   some level of nitrogen in the tank when Dr. Conaghan and
10   we'd have to analyze this failure over and over again           10   the other embryologist were able to get the lid off the
11   with known causes to see how many times we get it right         11   tank.
12   and how many times we get it wrong.                             12     Q. Right. So let me back up and lay a little
13         But I feel like, I mean, the scientific method            13   foundation. Hopefully, we can all be on the same page.
14   that I went through to arrive at my conclusions is the          14    A. Sure.
15   methodology that engineers and failure analysis around          15     Q. So the measurement that was taken on March 3rd
16   the world use on a routine basis.                               16   by Jean Popwell was 14 inches. Do you recall that?
17      Q. So it's fair you don't know the error of the              17    A. I do.
18   potential --                                                    18     Q. And then on Sunday, March 4, at approximately
19    A. I can't give you a numerical error rate. I'm                19   12:30 p.m., Dr. Conaghan, with the help of Miss Popwell,
20   very confident in my findings.                                  20   was able to take off the lid, and he testified that he
21      Q. Is the technique that you use to reach the                21   took a dip stick, put it inside tank 4, pulled it out,
22   conclusion that the crack in the weld was the cause of          22   waved it around and got a one-inch frost line. Do you
23   the vacuum seal loss, is that generally accepted in the         23   recall that testimony?
24   scientific community?                                           24    A. I do recall. I think he may have said at most
25    A. Yes, it is, in my opinion, and if you read                  25   one inch, but yes, I recall that testimony.


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 1       Q. All right. So based upon that testimony, is it           1      Q. So that 11 and a half inches of LN2 goes through
 2   your opinion that the LN2 in tank 4 evaporated between          2   that crack, correct?
 3   7:00 a.m. on March 4 and 12:30 p.m. on March 4, when            3         MS. ZEMAN: Objection. Misstates testimony.
 4   Dr. Conaghan was able to open the lid?                          4         THE WITNESS: Some of it can evaporate. Some of
 5     A. I'm going to go back to, when you say evaporate,           5   it may go through the crack, assuming that the 14 inches
 6   what's -- I'm certain that there was some evaporation           6   is accurate.
 7   that went on between 7:00 a.m. and 12:00.                       7        MR. DUFFY: Q. Do you doubt the 14 inch
 8       Q. Okay. How much --                                        8   measurement that Jean Popwell took on Saturday, March 3?
 9     A. Am I prepared to quantify that? No, I am not.              9     A. I can tell you from what I have seen, I don't
10   I don't have an opinion to quantify exactly how many           10   know that it would be off, but it could be off by an
11   nitrogen may have evaporated during that time period.          11   inch or so or something, it's possible, or half an inch.
12       Q. What was the average daily evaporation rate for         12   Again, my assumption is that it was reasonably accurate.
13   tank 4, do you recall?                                         13      Q. So your assumption is the measurement taken on
14     A. I don't recall. If you had asked me this                  14   Saturday, March 3 by Jean Popwell was reasonably
15   earlier, I would have, but I don't recall off the top of       15   accurate. Is that fair?
16   my head.                                                       16     A. That's correct. I have no reason to believe
17       Q. Does about an inch to an inch and a half per day        17   that it wasn't.
18   sound about right?                                             18      Q. So is my reading of your first and second report
19     A. You know, I know in my report, I have to go back          19   and your first deposition fair in that you came to the
20   and look at that, that I have a number associated with         20   conclusion the loss of liquid nitrogen occurred between
21   what the normal net evaporation rate is. But for tank 4        21   7:00 a.m. on March 4 and 12:30 p.m. on March 4?
22   at this point in time I don't have a -- I can't answer         22         MS. ZEMAN: Objection. Misstates testimony.
23   off the top of my head what the average evaporation rate       23         THE WITNESS: No. I mean, we could have had a
24   is.                                                            24   loss -- you are going to have some loss of liquid
25       Q. Okay. If the evaporation rate was an inch to an         25   nitrogen. From the time you fill it, it's going to


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 1   inch and a half per day and Miss Popwell measures 14            1   immediately -- it's evaporating at some rate. We've
 2   inches on Saturday, the 3rd, you would expect about 12          2   discussed that.
 3   and a half inches in that tank by mid-day on March 4,           3         So it was last filled, I don't remember the
 4   correct?                                                        4   exact time right now, but the evening or late in the day
 5    A. I would agree with something in that range, yes.            5   before the incident. And I believe it evaporated
 6     Q. And when Dr. Conaghan opens the lid and conducts           6   overnight.
 7   a manual measurement he gets an inch, maybe less,               7         At some point I think this crack got to the
 8   correct?                                                        8   point where it made it through the entire wall, allowing
 9    A. Correct.                                                    9   a loss of vacuum, increasing the vacuum rate, and likely
10     Q. So we see about 11 and a half inches of LN2               10   sucking nitrogen, some nitrogen into the tank.
11   missing on March 4, correct?                                   11      Q. How long did that take?
12    A. That's correct.                                            12     A. I don't have a -- how long did it take? It
13     Q. And is it your opinion that that evaporation of           13   happened sometime between when the tank was filled and
14   about 11 and a half inches occurred between 7:00 a.m.          14   the time the incident was discovered. It could have
15   and 12:30 p.m. on March 4?                                     15   been happening over some period of time, too.
16    A. Well, my opinion is that elim -- assuming that             16      Q. You would agree with me it would have had to
17   the 14 inch number is accurate, my opinion is that             17   evaporate between the time it was filled by Ms. Popwell
18   nitrogen went somewhere. How much of it went to                18   until it was measured by Dr. Conaghan, correct?
19   evaporate, how much of it could have entered into the          19     A. Again, I am just going to say when you say it
20   vacuum space and perhaps be trapped between the                20   would evaporate, you are talking about the change in
21   insulation and the inner tank wall is something that I         21   level from near 14 inches to near one inch.
22   don't have a firm number on. But it went somewhere.            22      Q. True.
23         My opinion is that the crack is the cause of             23     A. I agree that, assuming those two numbers are
24   that nitrogen level changing so quickly in that                24   correct, that had to happen between the time it was last
25   relatively short period of time.                               25   filled and the time that the one-inch measurement was


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 1   taken.                                                          1   on March 3rd at approximately 2:30 p.m., and we then
 2       Q. And then, to be clear then, you don't hold the           2   accept that Dr. Conaghan's estimate is he discovers the
 3   opinion that the LN2 evaporated between the hours of            3   incident at 12:30 the next day, would you agree that's
 4   7:00 a.m. on March 4 and 12:30 p.m. on March 4?                 4   about a 22 hour period of time?
 5          MS. ZEMAN: Objection. Misstates testimony.               5    A. I would.
 6          THE WITNESS: I'm not trying to be difficult,             6      Q. And is it your opinion that in that 22 hour
 7   Mr. Duffy. It's just a hard question to answer, because         7   period of time 11 and a half inches of liquid nitrogen
 8   as I told you, it's evaporating all the time.                   8   was lost?
 9        MR. DUFFY: Q. I understand that.                           9    A. Again, assuming that the reported measurements
10     A. I don't agree that it went from 14 inches to one          10   are reason reply accurate, yes. That's what it implies
11   inch between 7 a.m. and 12:00.                                 11   to me.
12       Q. Okay. And I understand that, because we have a          12      Q. Have you seen evidence that questions whether
13   natural evaporation rate. We agree upon that, right?           13   Miss Popwell actually measured on March 3rd?
14     A. Correct.                                                  14    A. I recall some discussion about that on reading
15       Q. And if we back out the natural evaporation rate,        15   something, but I am not intimately familiar with it.
16   it leaves us with about 11 and a half inches of liquid         16      Q. That would be an important fact to calculate the
17   nitrogen, correct?                                             17   evaporation rate; would that be true?
18     A. Something in that ballpark, yes.                          18    A. As to whether or not that measurement was
19       Q. Do you believe that the 11 and a half inches of         19   accurate?
20   liquid nitrogen was lost between the hours of 7:00 a.m.        20      Q. Correct.
21   on March 4 and 12:30 p.m. on March 4?                          21    A. Well, yes. I mean, that's the reason I have
22     A. No, not necessarily. I mean, that could have              22   answered all your questions by saying assuming that it's
23   started happening at a greater rate than the normal            23   accurate.
24   evaporation rate at any time after the tank was filled.        24      Q. If we were to assume that she didn't measure on
25          MS. ZEMAN: John, we've been going for about an          25   Saturday, March 3rd, how would that impact your


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 1   hour. When we have and opportunity, could we have a             1   opinions?
 2   five-minute break?                                              2    A. I don't know that it would impact it
 3         MR. DUFFY: Yeah, let's do it now, if that's               3   significantly. I mean, my opinion is essentially
 4   good. Dr. Kasbekar, do you need to take a break now?            4   related to the physical evidence that we've seen. I
 5         THE WITNESS: Yeah, that would be great.                   5   mean, that's a primary driving force is the testing,
 6         MR. DUFFY: Okay. Thank you.                               6   inspection and physical evidence, and understanding of
 7         THE VIDEOGRAPHER: We are going off the record             7   the manner in which it works and the documents reviewed
 8   at 10:06 a.m.                                                   8   by Chart that we discussed earlier regarding failure
 9         (Recess taken.)                                           9   mechanisms.
10         THE VIDEOGRAPHER: We are now going back on the           10         I'd also add to that, in addition to the emails
11   record, and the time is 10:20 a.m. Pacific standard            11   that indicate nitrogen entering into the vacuum space
12   time.                                                          12   from the inner tank being the cause of prior failures in
13        MR. DUFFY: Q. Dr. Kasbekar, do you have an                13   Chart's documents, Chart's own failure modes and affects
14   opinion as to how long it took for the liquid nitrogen         14   criticality analysis that the DFMECA specifically
15   to evaporate 11 and a half inches between March 3 and          15   addresses exactly what we have happening here, which is
16   March 4?                                                       16   a crack in the annular weld allowing nitrogen into the
17     A. I think that evaporate occurred between the time          17   vacuum space and an implosion of the tank.
18   it was filled and the time that the one inch,                  18      Q. But just to be clear, though, if Miss Popwell
19   approximately one inch or less measurement was made by         19   did not measure liquid nitrogen at all on March 3rd, it
20   Dr. Conaghan, that's my opinion.                               20   would not impact your opinions, correct?
21      Q. Did you have a chance to review the data                 21    A. Not with regard to the failure mode, and --
22   download that came from the controller on tank 4?              22      Q. But what would --
23     A. I did a long time ago.                                    23    A. Well, quite frankly, I don't know that I have
24      Q. Okay. If I told you that there is some evidence          24   very many opinions regarding evaporation rate and
25   in the data download that someone was working on tank 4        25   specific rates of flow of nitrogen into the vacuum


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 1   space.                                                       1   if, in fact, it was one inch or less, that nitrogen went
 2         My opinion really is that there was a                  2   somewhere. How much of it went to being evaporated, how
 3   progressive failure of the weld in question that led to      3   much of it could have been introduced into the vacuum
 4   a breach between the inner tank and the vacuum space         4   space I don't have an opinion on.
 5   that allowed nitrogen to get into the vacuum space.          5         MR. DUFFY: Q. Couldn't the testing of the
 6      Q. But you don't have any opinions on at what rate        6   evaporation rate help you determine whether the
 7   the liquid nitrogen evaporated, correct?                     7   measurement that was done by Miss Popwell on March 3 was
 8     A. Nothing beyond what we've really discussed and          8   accurate?
 9   what's documented in the testimony.                          9     A. I'm going to answer the same way I did before.
10      Q. Could you have tested your theory that the            10   We don't have a way of quantifying on the day before,
11   liquid nitrogen evaporated between 2:30 on March 3rd and    11   when this tank was filled, what the vacuum level was in
12   12:30 on March 4?                                           12   tank number 4, and that's going to have an effect on the
13     A. Number one, I have no reason to do that and no         13   evaporation rate. That's something that I don't know a
14   real need to do that. And it's based upon assumptions       14   way to reproduce, because there is no way to measure
15   of measurements taken by two people. That would be the      15   that vacuum level.
16   error in any testing that was done.                         16          And then we're dealing with a tank that's
17         But the assumption I relied upon is that there        17   several years old.
18   was a reasonable supply of nitrogen in the tank the day     18       Q. Um.
19   before.                                                     19     A. So doing it with a new tank, in my opinion,
20      Q. I guess my --                                         20   would not be a reliable way of reproducing what may have
21     A. But honestly, the evaporation rates are not            21   happened with the subject tank.
22   critical to my role in this case, which is to determine     22
23   the cause of the failure.
24      Q. I guess my question was a little different,
25   Dr. Kasbekar. Let me try again. Could you have tested


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 1   the LN2 evaporation rate between March 3 and March 4 to
 2   support your opinions?
 3     A. For that particular tank, no. For a new
 4   exemplar tank, I guess that would be feasible to do.
 5   But this is a six year old tank that nobody knows what
 6   exactly the vacuum level was at that time. The
 7   condition of the lid would have to be replicated. So
 8   no, I could not do it for that tank.
 9      Q. It's not possible?
10     A. Not for that specific -- for tank number 4, no.
11      Q. But an exemplar you could have done that for,
12   correct?
13     A. An exemplar that could be done for, and I think
14   that data already exists in Chart's own literature.
15      Q. Well, I guess I'm not talking about the known
16   literature. I'm talking about testing your conclusion
17   that the LN2 evaporated between 2:30 on Saturday, March
18   3rd and Sunday, March 4 at about 12:30.
19         MS. ZEMAN: Objection. Misstates testimony.
20         THE WITNESS: Mr. Duffy, I'm not sure that that
21   is what I have testified to. I do agree that there was
22   evaporation that occurred between that time, and we've
23   talked about it extensively. It depends on the
24   measurements that were made.
25         But if, in fact, it was filled to 14 inches and


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                                                                    1   reasonable life span. I mean, you have a structure
                                                                    2   that's made out of three or four stainless steel, and
                                                                    3   certainly could be built robustly enough that you
                                                                    4   shouldn't have a failure like what we have here in that
                                                                    5   period of time. I think it's certainly feasible to
                                                                    6   design something to last at least that long.
                                                                    7      Q. Well, I understand that. But do you have an
                                                                    8   opinion that the MVE 808 has a design life of ten years?
                                                                    9    A. Based on the documents, my opinion is that seems
                                                                   10   to have been the intended span.
                                                                   11      Q. Have you ever observed a cryogenic dewar like
                                                                   12   tank 4 lose its vacuum seal?
                                                                   13    A. I mean, I have never observed the process of
                                                                   14   that happening, but I am aware that that does happen,
                                                                   15   and I understand why.
                                                                   16      Q. But you have never seen it yourself, correct?
                                                                   17    A. I mean, I haven't seen it actually in the
18      Q. In the two that you have actually examined, you         18   process, but I have seen cryogenic vessels, not
19   found what you perceived to be an issue with both, which      19   necessarily NVE808s, but other tanks that have lost
20   is the sharp weld artifact at the weld root, correct?         20   their vacuum seal.
21     A. In differing degrees.                                    21      Q. I guess my question is just a little bit
22         MS. ZEMAN: Wendy, did you get my objection to           22   different, Dr. Kasbekar.
23   that prior question?                                          23         (Beginning of question cut out.)
24         THE REPORTER: No, I didn't.                             24         THE REPORTER: I missed the first part of your
25         MS. ZEMAN: I have an asked and answered                 25   question.


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 1   objection.                                                     1         MR. DUFFY: I'm sorry. No problem.
 2         THE REPORTER: Thank you.                                 2      Q. Dr. Kasbekar, my question is a little different.
 3       MR. DUFFY: Q. In your report, I saw that you               3   Have you personally ever witnessed a cryogenic
 4   had come to the conclusion that an MVE should have a 10        4   dewar-like tank 4 lose vacuum seal in front of you?
 5   year life cycle; is that right?                                5    A. Actually, yes, I have.
 6    A. I don't know that I came to that conclusion. I             6      Q. Where did that happen?
 7   know Chart has documents, and I believe I have                 7    A. It happened at ATS on the exemplar when I
 8   referenced in my report, that suggested that that was a        8   drilled a hole into the side of the tank in order to
 9   reasonable life span.                                          9   basically deconstruct the tank.
10      Q. But do you hold the opinion that the MVE has a          10      Q. When did you do that?
11   10 year life cycle?                                           11    A. In October of this year.
12    A. The term "life cycle" is something I have not             12      Q. And when you drilled a hole in the side of the
13   seen. I'd have to go back to the document. It's been          13   tank, did you do so -- well, strike that.
14   awhile since I reviewed it, but I think that was the          14         Did you use a drill bit to do that?
15   intended design life. Does that sound correct to you?         15    A. I did.
16   I don't remember the word "life cycle." If I'm wrong, I       16      Q. What was the diameter of the drill bit?
17   apologize.                                                    17    A. Oh, I am going to say it was on the order of
18      Q. Sure. No, I will use the word design life.              18   3/16ths of an inch plus or minus a 16th. It may have
19   Have you come to the opinion that the MVE has a 10 year       19   been a quarter inch drill. I just don't remember. I
20   design life?                                                  20   can determine that, but I don't remember.
21    A. Again, that's my understanding of what Chart has          21      Q. At what height inside the dewar did you drill
22   indicated in documents provided to me.                        22   the hole?
23      Q. But do you hold that opinion, or are you just           23    A. It's documented in my photos, but it was drilled
24   relying on documents that you --                              24   in the outside, and it was close -- it was just below, I
25    A. Well, I certainly think that would be a                   25   believe, the upper circumference or upper seam weld.


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 1      Q. Upper what weld? I'm sorry. I didn't hear you.           1   with your opinions?
 2    A. Seam weld. I'm sorry. Not seam weld. It's the              2    A. I did.
 3   circumferential weld that joins the outer tank walls to        3      Q. What type of research did you conduct?
 4   the outer tank head.                                           4         MS. ZEMAN: Objection. Again, this goes beyond
 5      Q. And when you did that drilling did you spoil the         5   the scope of the expert discovery. His report indicates
 6   vacuum in the dewar?                                           6   what materials he's relied on.
 7    A. I did.                                                     7        MR. DUFFY: Q. And the materials that you have
 8      Q. How much liquid nitrogen did you have in the             8   relied on for your opinions are in your report, correct?
 9   dewar of the exemplar at that time?                            9    A. That's correct, and I also have done general
10    A. I didn't have any, and it wouldn't have mattered          10   reading at the beginning of this case related to
11   because I was drilling into the outside of the tank.          11   cryogenic vessels such as this, and learned a little bit
12      Q. Okay. But I guess my question was, what I was           12   more about the fertility clinic industry just as part of
13   asking, have you ever seen a cryogenic dewar lose its         13   the background process that I think is important to
14   vacuum seal in front of you, you said yes, and it was         14   conducting this type of investigation.
15   only by virtue of this drill, correct?                        15      Q. So aside from the incident where you drilled the
16    A. That's correct. I interpreted your question               16   hole on the exemplar from the outside, have you
17   have I actually seen one just degrade right in front of       17   personally ever witnessed a cryogenic dewar like tank 4
18   me. And then when you repeatedly asked I realized that        18   lose vacuum seal with liquid nitrogen inside?
19   I actually had intentionally induced the leak.                19         MS. ZEMAN: Objection. Misstates testimony.
20      Q. Okay. So the way you did it was by drilling a           20         THE WITNESS: I am going to answer it this way.
21   hole through the exterior of the dewar; is that right?        21   As a graduate student, I have seen cryogenic storage
22    A. That's correct.                                           22   vessels that have lost vacuum with nitrogen inside. But
23      Q. And you had no liquid nitrogen in it when you           23   whether that happened over minutes or hours, I don't
24   did that, correct?                                            24   know. I have just seen the net effect of that
25    A. Right.                                                    25   happening, and we've had to replace those vessels and


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 1      Q. Did you ever fill it with liquid nitrogen so you         1   get new vessels in.
 2   could test the evaporation of the LN2?                         2        MR. DUFFY: Q. Would this would have been when
 3     A. Did not.                                                  3   you were with Duke University?
 4      Q. Why didn't you do that?                                  4     A. That's correct.
 5     A. Because I was interested in the condition of the          5      Q. And there was a cryogenic dewar there?
 6   weld as it left the factory without putting any other          6     A. Well, we had cryogenic dewars. We also had
 7   service conditions on the tank prior to looking at the         7   liquid nitrogen tanks in our laboratories there.
 8   weld.                                                          8      Q. How many cryogenic dewars did they have at Duke
 9      Q. Are you aware of any testing that's been done in         9   when you were there?
10   published papers on drills into cryogenic dewars when         10     A. Well, at all of Duke University I don't know,
11   they have liquid nitrogen in them?                            11   probably thousands. I have no idea.
12     A. Early on in the case I may have read some papers         12         (Simultaneous talking.)
13   where they were looking at vacuum loss, but I'm not sure      13         THE WITNESS: In our immediate lab, we probably
14   that it -- again, the reason I drilled the hole in the        14   had, I don't know, a half a dozen dewars.
15   outside of this tank was not to study vacuum loss or          15        MR. DUFFY: Q. And were they cryogenic dewars?
16   anything else. It was to allow a hole saw to be used to       16     A. When you say a cryogenic dewar, I mean, how does
17   allow access to cut the top of the tank off.                  17   that differ from a dewar? They were liquid nitrogen
18      Q. Before you did that, though, could you have             18   dewars.
19   filled it with liquid nitrogen just to test the               19      Q. Okay. So the half a dozen or so dewars at Duke
20   evaporation rate before you cut the top of?                   20   in the lab that you are familiar with were able to hold
21     A. I could have if wanted to, but that would have           21   liquid nitrogen?
22   caused additional stresses in the area of the weld, and       22     A. That's correct.
23   I wanted to look at the weld prior to doing that. I           23      Q. And --
24   would have had to buy two tanks to avoid that situation.      24     A. That's what they were used for.
25      Q. Did you research any literature in conjunction          25      Q. And what was your experience in working with


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 1   those dewars?                                                 1   intermediary between the big supply tank and the small
 2     A. Um, I'm not sure how to answer the question.             2   vessel dewar that we used to fill the EDAX unit.
 3   What do you mean what was my experience? Over the             3       Q. And that --
 4   course of really both as a -- you know, undergrad and         4     A. The medium size tank at one point went bad. The
 5   graduate student I had the opportunity to use dewars in       5   reason we knew it went bad is we would come back and
 6   the line of work that we were doing. You are asking me        6   there would be almost no nitrogen in there after filling
 7   what I did with them?                                         7   it, and there would be frost all over the outside of the
 8      Q. Yes.                                                    8   tank.
 9     A. Oh. So the routine thing that I did is we had a          9       Q. Okay. That's one of the things I just wanted to
10   -- God, I'm trying to remember the brand. We had an          10   make sure I could ask you about what you observed. So
11   EDAX unit on our SEM that required liquid nitrogen to be     11   when you were at Duke there was a supply tank that lost
12   maintained in it, and one of my responsibilities for my      12   vacuum seal, correct?
13   time period starting really as a senior undergrad and        13     A. Right.
14   lasting another seven or eight years was to maintain         14       Q. When it lost vacuum seal it exhibited signs and
15   that.                                                        15   symptoms of that on the exterior of the supply tank; is
16         That involved taking a, I think at times of what       16   that fair?
17   I will call a medium size dewar, filling it from a           17     A. It did, yes.
18   supply tank located at a different part of the building.     18       Q. Would you describe for us, please, what signs
19   Taking it, and then a medium size dewar, I'd empty a         19   and symptoms were exhibiting on that supply tank?
20   portion of the nitrogen into a smaller dewar, which          20     A. There was massive amounts of frost on the supply
21   would then go into the SEM EDAX unit.                        21   tank. This was awhile back, but I seem to recall there
22         I also utilized dewars in my research, because I       22   was a lot of nitrogen vapor that was also coming out of
23   have a temperature control chamber that I built, and it      23   the plumbing for the supply tank.
24   was controlled by -- the cooling was controlled with         24       Q. Okay. And then did you see condensation on the
25   nitrogen as well as a temperature bath, depending on         25   exterior of the supply tank, as well?


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 1   what temperatures we were trying to get to. That's the        1    A. The image I have in the back of my mind was it
 2   majority of my experience.                                    2   was really mostly iced up more so than condensation.
 3     Q. Did the cryogenic dewars in the lab that you             3   Obviously, at some point there was likely condensation,
 4   were familiar with at Duke, did they have computer            4   too, but it was really a large -- it was obvious.
 5   controllers on them?                                          5      Q. Was there water on the floor underneath the
 6    A. No, they did not.                                         6   supply tank?
 7     Q. In what years were you at Duke working with              7    A. I think that there probably was. I don't --
 8   these cryogenic dewars?                                       8   we're talking decades ago. I don't specifically
 9    A. I would say probably between about 1984 all the           9   remember, but I can't imagine how there wouldn't be.
10   way through to 1994. Probably less in 1993 and '94.          10      Q. Do you have a memory of how long it took for
11     Q. One of those dewars lost its vacuum seal?               11   that failure to occur?
12    A. One of the supply tanks I know lost its vacuum           12    A. I have no idea. I remember us coming across it
13   seal, and we had to replace some of the medium size          13   one day, and it was remarkable.
14   dewars because they were not able to maintain                14      Q. And then there was a dewar, as well, at Duke
15   insulation. So I assume that it was due to the vacuum        15   that held liquid nitrogen that also lost vacuum seal?
16   seal loss.                                                   16    A. That's correct.
17     Q. Let me break that down. There was a supply tank         17      Q. Did that exhibit signs and symptoms of vacuum
18   when you were at Duke that lost vacuum seal, correct?        18   seal loss?
19    A. Correct.                                                 19    A. In my opinion, it did. Basically, we were
20     Q. And then there was one or two dewars that had to        20   losing nitrogen at a rate that was significantly more
21   be replaced because they weren't holding temperature?        21   than we were used to, and the outside of the tank was
22    A. I know that we had a supply tank that we took            22   covered with frost.
23   down to service at one point. And then we had a larger       23      Q. And was the floor underneath that dewar wet?
24   dewar, not as large as the 808, but it was a portable        24    A. Again, I don't specifically -- that's not the
25   dewar that we used to supply. It was kind of an              25   image that stuck in my mind. I can't imagine how it


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 1   would not have been. I just -- I should know, because I        1      Q. And then between the ice and the water on the
 2   was the one who probably cleaned that up, so.                  2   floor, would you expect the condensation on the outside
 3      Q. Do you --                                                3   of the tank?
 4    A. I suspect that there was moisture but, honestly,           4     A. Yes.
 5   I have an image of the tank and the frost on the               5      Q. And in your review of the testimony, have you
 6   outside, and I don't have an image of what was happening       6   seen any witnesses who say they saw either ice
 7   on the floor.                                                  7   condensation or water on the floor associated with
 8      Q. Where were you in your studies at the time that          8   tank 4?
 9   you saw the dewar lose its vacuum seal?                        9     A. Not until the morning of the incident.
10    A. I would have been, I think this was in the                10      Q. And that's about 12:30 on March 4, correct?
11   beginning of my doctoral studies.                             11     A. That's correct.
12      Q. What year would this have been approximately            12      Q. And that's in Dr. Conaghan's testimony; is that
13   then?                                                         13   right?
14    A. It would have probably been, so I completed my            14     A. That's correct.
15   Masters in '87, so it probably would have been in the         15      Q. Your report was sent to us on November 6th.
16   late eighties.                                                16   Have you done any further testing of your opinions since
17      Q. Okay. When you say you would have been the one          17   that time?
18   to clean it up, why was that?                                 18     A. No.
19    A. I was -- so I was in charge of the SEM. I                 19      Q. Have you done any testing of any kind since
20   basically from running the students through it to             20   November 6?
21   cleaning the column to making sure that there was -- my       21     A. The only --
22   responsibility was to make sure there was nitrogen in         22           MS. ZEMAN: Object. It goes beyond the scope of
23   the EDAX unit or the SEM.                                     23   the expert discovery stipulation. Nothing done post
24      Q. And so when there was this dewar failure, did           24   service of this report would go to what he relied upon
25   you have anything to do with addressing it?                   25   for it.


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 1    A. Yes. You know, I went to my advisor and I told             1          MR. DUFFY: We've been going for almost an hour.
 2   him we needed a new one, and that created a chain of           2   Do you guys mind if we take a five-minute break?
 3   events, and we eventually got a new one. We dealt with         3          THE WITNESS: That would be great.
 4   what we had to work with in the interim.                       4          THE VIDEOGRAPHER: We are going off the record
 5      Q. When you were at Duke during this time, did they         5   at 11:09 a.m. Pacific standard time.
 6   maintain a schedule of LN2 measurements of that dewar?         6          (Recess taken.)
 7    A. Measurements?                                              7          THE VIDEOGRAPHER: We are now going back on the
 8      Q. Yes.                                                     8   record, and the time is 11:22 a.m. Pacific standard
 9    A. No. So it's -- the process is a little bit                 9   time.
10   different in nature as to what happens at the clinic.         10        MR. DUFFY: Q. Dr. Kasbekar, are you familiar
11   Obviously, a little bit less critical, too. We're             11   with finite element testing?
12   dealing with some instrumentation but not anything as         12          MS. ZEMAN: (Inaudible.)
13   critical as this.                                             13          THE WITNESS: Yes, Mr. Duffy, I am familiar with
14      Q. Okay. But just to be sure, the only thing the           14   finite element analysis.
15   dewar did was hold liquid nitrogen, correct?                  15        MR. ZEMAN: Q. How are you familiar with finite
16    A. That's correct. My concern with nitrogen level            16   element testing?
17   was more on the supply tank.                                  17     A. I'm sorry. Did you say how?
18      Q. Sure. Okay. So you would agree if you have a            18      Q. Yes.
19   vacuum seal loss on a cryogenic dewar you would expect        19     A. So I got some exposure to it as a graduate
20   to see ice formation on the outside, correct?                 20   student, but in my career part of the work that I did
21    A. Correct.                                                  21   for the Department of Defense involved some pretty
22      Q. And you would expect to see water on the floor,         22   extensive finite element modeling.
23   as well, underneath it, correct?                              23
24    A. I think that would also be a reasonable
25   expectation.


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 1   first in your deposition here today you cannot give me               1   correct?
 2   an estimated stress level on the weld at issue; isn't                2     A. Finite element analysis, I could have done that.
 3   that a fair statement?                                               3      Q. And you did not, correct?
 4          MS. ZEMAN: Objection. Vague and ambiguous.                    4     A. I did not.
 5          THE WITNESS: I am going to answer by saying                   5      Q. Now, before your second report you did not have
 6   that I am in the process of doing some work in response              6   a software license for a fine element testing that was
 7   to things that came up in one of your expert's                       7   up-to-date at that point, correct?
 8   depositions, and whether or not this is a time to talk               8     A. That's correct.
 9   about draft work that I have done or not, I'm not sure.              9         MS. ZEMAN: Misstates testimony.
10   If I am told by counsel that I can, then I will.                    10        MR. DUFFY: Q. So you would need to buy a
11         MR. DUFFY: Q. Okay. Your counsel has already                  11   license to have an up-to-date version of the finite
12   objected, and so I will let that objection stand. I                 12   element software, correct?
13   will wait to see the coding (ph.) of your work.                     13     A. Well, as I say, I actually own two licenses,
14          To do finite element analyses, what tools would              14   from the work I was doing for the army. But I have not
15   you need to do that?                                                15   kept them on maintenance recently, so I would have to
16     A. Well, you need to basically model and mesh the                 16   incur an expense to do that, and I'd also have to
17   portion of the structure that you are modeling. It                  17   resurrect a license for other parts of the software
18   requires certain software packages, and those software              18   involved for the modeling and meshing process.
19   packages will bend based upon boundary conditions that              19      Q. And you didn't do that before writing the second
20   are established. We will do calculations to provide                 20   report, correct?
21   stresses and strains.                                               21     A. I did not. Did not see a need.
22      Q. Do you have a license to any of the softwares                 22      Q. The finite element software that you have was
23   that would allow you to run a finite element test                   23   from when you were doing work for the army; is that
24   yourself?                                                           24   correct?
25     A. I own licenses to software that would allow me                 25     A. That's correct.


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 1   to do that. I no longer have current version licenses,               1      Q. When did you stop doing that work for the army,
 2   and I also no longer have up-to-date licenses for all                2   what year?
 3   the modeling software.                                               3    A. I don't remember the exact year, but it was
 4      Q. So at the time of your first report, did you                   4   prior to 2016.
 5   have software available to you for which you had a                   5      Q. Did you do any finite -- strike that.
 6   license to conduct finite element testing on the                     6         Did you do any -- did you do any finite element
 7   estimated stress on the weld at issue?                               7   testing on the double weld that you recommend to be done
 8     A. I own a license, but again I didn't have                        8   for the annular fill line?
 9   licenses to all of the different parts of the software               9    A. I did not.
10   that were really needed to go from start to finish.                 10      Q. Did you do any finite element testing on the
11      Q. So you couldn't have conducted the finite                     11   exemplar weld at the annular fill line?
12   element testing?                                                    12    A. I did not.
13          MS. ZEMAN: Objection. Misstates testimony.                   13      Q. If you would just turn to your report,
14          THE WITNESS: No, that's not true. I mean, I                  14   Dr. Kasbekar, at page 6. Let me know when you are
15   could always go out and buy or renew licenses. It's a               15   there.
16   financial matter more than anything else.                           16    A. Okay. I'm on page 6.
17          But again, it was a decision that I made based               17      Q. In the paragraph beginning October 28, 2020, do
18   upon my understanding of thermal stresses in these                  18   you see that?
19   materials at these temperatures and with this geometry              19    A. I do.
20   that I thought that this was something that would have              20      Q. You were provided 29 pages of documents; is that
21   been fairly obvious to most, if not materials engineers             21   right?
22   certainly mechanical engineers.                                     22    A. Correct.
23        MR. DUFFY: Q. So would it be fair to say                       23      Q. You reviewed those documents; is that right?
24   before your first report you could have bought                      24    A. I did.
25   up-to-date software to conduct a finite analysis,                   25      Q. And you came to the conclusion that it revealed


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 1   knowledge of other failed and deformed tanks by Chart;
 2   is that right?
 3     A. Correct.
 4      Q. There were only two tanks involved in those 29
 5   pages; is that correct?
 6     A. That's correct.
 7      Q. And there was no failure analysis performed on
 8   either one, correct?
 9     A. Not to my knowledge based upon what I reviewed.
10   I don't know whether Chart has done something beyond
11   that.
12      Q. And one of the specialties that you hold is
13   failure analysis, correct?
14     A. That's correct.
15      Q. And in the 29 pages of documents there was no
16   evidence that weld cracks were reported; isn't that
17   right?
18     A. Not that I could determine from those documents
19   either way.
20      Q. And do you know if -- well, strike that.
21         Would you please turn to page 10 of your report,
22   Dr. Kasbekar?
23     A. I'm on page 10.
24      Q. In the last sentence of the second paragraph it
25   starts, "This location was directly above." Do you see


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 1   that?
 2    A. Yes.
 3




                                                                                      .
                                                                  11     A. Of any significance, at least.
                                                                  12       Q. This is probably structural, but it is a little
                                                                  13   confusing to me when I read your report, and I was
                                                                  14   trying to figure out the figure numbering. It's okay.
                                                                  15   I just -- is there anything missing at all that --
                                                                  16     A. No. So let me -- so I was as confused as you
                                                                  17   when I went to review my report in the PDF form, and the
                                                                  18   best I can tell is that some very carefully numbered
                                                                  19   figures in Microsoft Word, when it got written out as a
                                                                  20   PDF got juggled.
                                                                  21       Q. Okay.
                                                                  22     A. And it needs to be corrected. I apologize for
                                                                  23   it.
                                                                  24       Q. I just wanted to make sure I wasn't missing
                                                                  25   something.


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 1    A. No, I actually put quite a bit of effort into
 2   checking that the figure I got for the captions, because
 3   when I read it last night in preparation for the depo I
 4   was like what has happened here. So I apologize for
 5   that.
 6         It's something that needs to be corrected,
 7   because it makes the report difficult to read without
 8   doing some of your own investigation. So it's a
 9   technical issue between -- I think between Word and
10   Adobe Acrobat.
11




                                                                       5      Q. Did representatives of Pacific Fertility Center
                                                                       6   or representatives of their engineering experts at
                                                                       7   Exponent invite you to an inspection in March of 2018?
                                                                       8    A. No.
                                                                       9      Q. To your knowledge, based on everything you have
                                                                      10   reviewed in this case, was a representative of the
                                                                      11   patients in this case or Chart at the inspection at
                                                                      12   Exponent in March of 2018?
                                                                      13    A. I don't know the answer to that.
                                                                      14      Q. Have you seen any evidence that anybody other
                                                                      15   than the Exponent engineers were testing tank 4?
                                                                      16    A. I haven't seen any evidence either way. I know
                                                                      17   that, to the best of my knowledge, I was not nor were my
                                                                      18   clients aware of that testing.
                                                                      19      Q. You have done failure analysis for over 30
                                                                      20   years, correct?
                                                                      21    A. Over 35 years.
                                                                      22      Q. You have worked with Exponent before?
                                                                      23    A. Well, when you say with, they generally -- maybe
                                                                      24   with one or two exceptions on the opposite side of
                                                                      25   cases.


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 1      Q. You have had the opportunity to be in cases
 2   where Exponent was your opponent; is that fair?
 3    A. I absolutely haven't. In fact, Exponent's
 4   founder is my advisor's advisor.
 5      Q. Did you find it unusual that Exponent would
 6   conduct testing of tank 4 without inviting the patients
 7   of Chart?
 8    A. I would not have done that. Given the level of
 9   experience that that firm has or should have, I would
10   not have done it. I will leave it at that.
11      Q. Is it pretty extraordinary?
12    A. I wouldn't call it extraordinary. I have seen
13   much, much worse from many other people, but it's not
14   something that I would have done.
15




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                                                 1         Again, I think it's a sophomore level
                                                 2   engineering problem to at least realize that this is a
                                                 3   significant loading factor that needs to be considered,
                                                 4   and I did consider it. Can we beat it to death some
                                                 5   more? Sure, we can beat it to death some more.
                                                 6         Mr. Duffy, when you get a chance, it doesn't
                                                 7   need to be immediate, I might need to take a restroom
                                                 8   break.
                                                 9         MR. DUFFY: Yeah, let's take a five minute
                                                10   break, if that's okay with everybody. Thank you.
                                                11         THE VIDEOGRAPHER: We are now going off the
                                                12   record at 12:13 p.m. Pacific standard time.
                                                13         (Recess taken.)
                                                14         THE VIDEOGRAPHER: We are now going back on the
                                                15   record. The time is 12:24 p.m. Pacific standard time.
                                                16        MR. DUFFY: Q. Okay. Dr. Kasbekar, would you
                                                17   turn to page 45 of your report?
                                                18    A. Okay. I am looking at 45.
                                                19      Q. In the middle of the page, because the page has
                                                20   one paragraph, do you see the sentence "ratchet marks
                                                21   are commonly seen"?
                                                22    A. About how many lines down are you? I'm with
                                                23   you. Ratchet marks are commonly seen in fractures, yes.
                                                24




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 1




                                                21         MR. DUFFY: Why don't we just take five more
                                                22   minutes and see if I can get organized and see if I have
                                                23   any other questions for you.
                                                24         THE WITNESS: Okay. Mr. Duffy, not just for me
                                                25   but for my family, do you think we're close to a hour or


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 1   so from being done?                                         1   I agree with Mr. Parrington on this is I may have used
 2         MR. DUFFY: Yes, I do.                                 2   the word stress riser instead of raiser. In our lab,
 3         THE WITNESS: Okay. I'm just going to let them         3   anyway, we had conversations about that in particular,
 4   know that.                                                  4   and it's usually raiser, but in conversation it's
 5         MR. DUFFY: All right. Thank you.                      5   generally riser.
 6         THE WITNESS: Thank you.                               6      Q. On page 45, there is a reference to figure 62
 7         THE VIDEOGRAPHER: We are now going off the            7   and 63. I think this was discussed in your prior
 8   record at 12:49 p.m. Pacific standard time.                 8   testimony. Should one of those references actually be
 9         (Recess taken.)                                       9   to Figure 58?
10         THE VIDEOGRAPHER: We are now going back on the       10    A. You are on page 45?
11   record, and the time is 12:59 p.m. Pacific standard        11      Q. Correct.
12   time.                                                      12    A. And 62 through 63. I'm just reading it.
13         MR. DUFFY: Dr. Kasbekar, I looked at my notes        13      Q. It may have been the reference to Figure 2 in
14   and I don't have any further questions for you. Thank      14   the sentence "additional ratchet marks are visible on
15   very much for your time.                                   15   several locations along the edge of the fractured
16         THE WITNESS: Thank you, Mr. Duffy.                   16   surface."
17         MS. ZEMAN: I do have a few questions.                17    A. So with regard to ratchet marks, Figure 58,
18               EXAMINATION BY MS. ZEMAN                       18   Figure 60, Figure 61 I think are relevant.
19        MS. ZEMAN: Q. Dr. Kasbekar, your testimony            19         With regard to secondary cracks, I may not get
20   earlier referenced some degree of burn-through on your     20   all of them, but certainly Figure 59 is one of them.
21   sample weld pieces. Could that burn-through be reduced     21   There may be others.
22   or wholly avoided by refining the welding technique?       22      Q. Anything else you wanted to comment on, or any
23     A. Yes, I believe so.                                    23   corrections you wanted to make to your report?
24      Q. Your testimony earlier referred to various           24    A. I don't believe so. Secondary cracks, also,
25   materials that served as the basis for your opinions.      25   Figure 58 is relevant.


                                                     Page 126                                                           Page 128

 1   Does Chart's DFMECA documentation also serve as a basis     1      Q. Okay. And in your roughly 37 years of failure
 2   for your opinions?                                          2   analysis experience, how many times have you needed to
 3     A. It was part of the materials I considered. Yes,        3   attempt to recreate the exact failure to determine the
 4   it does.                                                    4   cause of the failure to a reasonable degree of
 5      Q. Do you have any corrections you'd like to make        5   scientific certainty?
 6   to your report?                                             6    A. First of all, I'm not quite sure I'm at 37 years
 7     A. The figure caption something happened clearly          7   yet. It might be close. To answer your question, the
 8   between the version I proofed in Word and the version       8   majority of times you are unable to perfectly recreate
 9   that was submitted in Adobe. I apologize to everybody       9   the failure.
10   who has had to read through those. So those need to be     10          There are times where you can recreate portions
11   corrected. I don't know if it's every single one, but      11   of it, but especially when you have something where
12   it's close to it. Something got scrambled.                 12   there is a field service history or if there is
13          Beyond that, the only two things I noticed is on    13   something being in use for several years, recreating it
14   page 5 of my report, which I'm trying to get to. I         14   perfectly is not often something that happens.
15   believe it's page 5. Yeah, under the image of the          15          MS. ZEMAN: And I'd like to enter one document
16   Sensaphone, that paragraph, the date on that for the       16   as an exhibit. I will drop that into the chat feature.
17   controller inspection, which was October 13th, 2020,       17   Just a second.
18   should have been, I believe, September 28th, 2020. I       18          This should be entered as Plaintiffs' Exhibit
19   wasn't at that inspection. I just had that date wrong.     19   409.
20          And then the other, I believe, is on page 40.       20                     (PLAINTIFFS' EXHIBIT 409 WAS
21   And on page 40 it's the citation at the bottom that --     21                     MARKED FOR IDENTIFICATION.)
22   the first citation, Footnote 53, says 1-3 comma 97. I      22          THE VIDEOGRAPHER: I'm assuming you'd like me to
23   think that's a typo on my end. It should be 187 instead    23   stamp that, Amy?
24   of 97.                                                     24          MS. ZEMAN: Please.
25          And the only other thing I noticed, I think, and    25      Q. Once you have that, if you could open that up.


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 1    A. Okay. I'm looking at it.
 2




                                                  22     MR. DUFFY: That's all I have. Thank you.
                                                  23     THE WITNESS: Thank you, sir.
                                                  24     MS. ZEMAN: No further questions.
                                                  25     THE WITNESS: Thank you.


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 1          THE VIDEOGRAPHER: This marks the end to the           1   of the testimony given by the witness.   (Fed. R. Civ. P.
 2 remote deposition. We are going off the record at              2   30(f)(1)).
 3 1:10 p.m. Pacific standard time. Thank you, Counsel.           3            Before completion of the deposition, review of
 4          MS. ZEMAN: Thank you all. Thank you, Anand.           4   the transcript [xx] was [    ] was not requested.     If
 5           (Deposition concluded at 1:10 p.m.)                  5   requested, any changes made by the deponent (and
 6                              -o0o-                             6   provided to the reporter) during the period allowed, are
 7                                                                7   appended hereto.      (Fed. R. Civ. P. 30(e)).
 8                                                                8
 9                I have read the foregoing deposition            9   Dated: December 1, 2020
10    transcript and by signing hereafter, subject to            10
11     any changes I have made, approve same.                    11
12                                                               12
13     Dated_____________________.                               13
14                                                               14                           ______________________________
15                                                               15
16                        _______________________________        16
                                 (Signature of Deponent)
17                                                               17
18                                                               18
19                                                               19
20                                                               20
21                                                               21
22                                                               22
23                                                               23
24                                                               24
25                                                               25

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 1                 DEPOSITION OFFICER'S CERTIFICATE
 2   STATE OF CALIFORNIA            )
                                    ) ss.
 3   COUNTY OF SAN FRANCISCO        )
 4
 5
 6              I, Wendy L. Graves, hereby certify:
 7              I am a duly qualified Certified Shorthand
 8   Reporter in the State of California, holder of
 9   Certificate Number CSR 6138 issued by the Certified Court
10   Reporters' Board of California and which is in full
11   force and effect.      (Fed. R. Civ. P. 28(a)(1)).
12              I am authorized to administer oaths or
13   affirmations pursuant to California Code of Civil
14   Procedure, Section 2093(b) and prior to being examined,
15   the witness was first duly sworn by me.    (Fed. R. Civ.
16   P. 28(a)(a)).
17            I am not a relative or employee or attorney or
18   counsel of any of the parties, nor am I a relative or
19   employee of such attorney or counsel, nor am I
20   financially interested in this action.   (Fed. R. Civ. P.
21   28).
22              I am the deposition officer that
23   stenographically recorded the testimony in the foregoing
24   deposition and the foregoing transcript is a true record
25                                   / / /


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